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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                                             No. 14-CR-3604-MV

FIRAS ABU ZUHRIEH, et al.,

               Defendants.



                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on Defendant Firas Abu Zuhrieh’s Motion for

Suppression of Statement and Evidence [Doc. 23]. The government responded [Doc. 27], but

Defendant did not reply. The Court held a hearing on the Motion on May 5, 2015 [Doc. 58]; at

the conclusion of the parties’ evidentiary presentations, the Court asked that they submit written

closing arguments. See Docs. 59-60. The Court, having considered the Motion, briefs, relevant

law, hearing transcript, and being otherwise fully-informed, finds that the Motion is not well-

taken and therefore will be DENIED.


                                        BACKGROUND

       The general contours of this case are not significantly disputed. On September 22, 2014,

agents with the United States Drug Enforcement Administration (“DEA”) executed a search

warrant at Defendant Abu Zuhrieh’s business, the “Ace Smoke Shop” and his residence. Doc.

58 at 20-21. When law enforcement officials “arrived at the smoke shop,” Abu Zuhrieh was

outside of the building, “smoking a cigarette” while his employee and co-Defendant, Islam

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Kandil, remained “inside of the shop.” Id. at 21. Abu Zuhrieh “was taken into custody” and

“handcuffed by a task force officer” immediately upon the officers’ arrival. Id. at 22.

       “After the scene was kind of settled down,” Special Agent Jeffrey McKinley of the DEA

and his “intelligence analyst, Roxanne Chavez,” led the Defendant “outside the back of his shop,

and spoke with him.” Id. The smoke shop occupies “a suite within a strip mall” such that

behind the businesses there is a common alleyway; here, McKinley and Chavez were able to

speak to Abu Zuhrieh while affording their conversation relative privacy from Islam Kandil and

the agents in the store. Id. at 23-24. At this point, McKinley and Chavez were the only

government officials in the vicinity. Id. at 24-25. On the date in question, McKinley carried a

service weapon, but it remained concealed during his conversation with Abu Zuhrieh and

McKinley doubts that Defendant could have seen it. Id. at 25. See also id. at 68-69.

       Here, the accounts diverge slightly, but are easily reconciled. Abu Zuhrieh testified that

he was “very scared … because a lot of people were there and they had – they were armed” and

“dressed in civilian clothes.” Id. at 102. However, it is not clear from the testimony whether the

“there” to which Abu Zuhrieh refers is the alleyway behind the building or the general vicinity of

the smoke shop. Given the context, the Court finds that McKinley, Chavez, and Abu Zuhrieh

were the only three people in the alley during the initial questioning. Similarly, while Abu

Zuhrieh testified that he saw various people “dressed in civilian clothes” carrying “rifles,” he did

not claim that McKinley brandished a weapon or that anyone with a gun participated in his

interrogation. See, e.g., id. at 102. Consequently, the Court understands Abu Zuhrieh’s

testimony to refer to the presence of other armed officers in the smoke shop and its environs,

rather than in his immediate presence.


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       Before McKinley and Chavez began to question Abu Zuhrieh, McKinley explained to the

Defendant that “you have to understand your rights” and faithfully recited the Miranda warnings,

to which he added the clarifications that “[i]f you decide to start answering questions now

without an attorney present, you have the right to stop answering at any time, and you also have

the right to stop answering at any time until you talk to your attorney.” Id. at 26. McKinley

followed up on this formal issuance of rights with an informal confirmation that Defendant had

understood McKinley, employing a routine quip about his Miranda speech sounding “a lot like

Law & Order,” apparently in an effort to ground the potentially arid discussion of procedural

rights in something more accessible to Abu Zuhrieh. Id. at 28.

       While Abu Zuhrieh argues that his limited comprehension of spoken English inhibited his

ability to understand, he admits that he does not recall whether McKinley advised him of his

Miranda rights, adding that if he had not understood McKinley’s admonitions at the time he

would not have asked the agent to repeat himself or rephrase his statements because Abu Zuhrieh

“was afraid of him.” Id. at 102-03. McKinley, however, states that Abu Zuhrieh “seemed to

understand” the warnings, explaining that while Defendant is “from Jerusalem” and speaks with

a “heavy” Arabic-inflected accent, McKinley could understand Abu Zuhrieh’s spoken English

and had no concerns that Defendant “understood the admonitions” that he had been given. Id. at

27-28. McKinley elaborated on this explanation, detailing his experience with Hispanophone

suspects, noting that he “wouldn’t just ruin” a “federal investigation” by continuing to question

someone whom he was not sure had appreciated or understood what he had said. Id. at 28.

McKinley’s evaluation of Abu Zuhrieh’s proficiency in English was corroborated by the fact that

Defendant responded appropriately to the questions McKinley posed, not merely in the


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affirmative or the negative, but also with narrative responses that required him to express himself

in English. Id. at 36. Further, in the instant case, earlier portions of the investigation, including a

“controlled buy” of spice had occurred entirely in English, such that it appeared to McKinley that

Abu Zuhrieh routinely conducted business in English. Id. at 29. At no point did Abu Zuhrieh

request that Agent McKinley repeat himself, clarify his phrasing, or explain the meaning or

significance of any term he used.

       Irrespective of whether McKinley issued the appropriate warnings, Abu Zuhrieh insists

that he did not understand the content of his rights. See Doc. 103-04. Instead, he suggests that

he responded to McKinley’s inquiries because he had been intimidated by the “way he came to

my store, he broke the door to the bathroom, and he started talking to me about extremism and

terrorism.” Id. at 104. However, the Court credits McKinley’s testimony that neither he nor

anyone else actively discussed Islamic terrorist organizations1 until they “were gone from the

smoke shop,” at which point an FBI agent did question Abu Zuhrieh about extremism in the

Middle East. Id. at 50-52.

       Whether or not Defendant understood the significance of the waiver he had rendered,

Abu Zuhrieh began answering McKinley’s questions, including a description of the means by

which he acquired the Bizarro and Scooby Snax branded spice products. Id. at 30-33. Shortly

thereafter, Supervisory Special Agent Eduardo Chavez approached Abu Zuhrieh regarding

“Suite H” in the same strip mall; evidently, the owner of the complex had approached Chavez

and, during their conversation, indicated that Defendant had rented a second unit and possessed


1
        Without delving into the controversy surrounding the appropriate nomenclature for the
organization variously termed the Islamic State of Iraq and Syria, the Islamic State of Iraq and
the Levant, and Da’ish, in the interest of uniformity and simplicity, the Court will refer to the
militant jihadis as ISIS.
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     the only corresponding key. Id. at 81-82. Chavez asked Defendant to confirm this information;

     Defendant “nodded affirmatively and said yes,” indicating that he had “leased another suite in

     the strip mall” and that it was “Suite H.” Id. at 83. Chavez then asked Defendant “if he had a

     key for Suite H;” in response, Abu Zuhrieh “stood up and reached into his little coin pockets that

     the Levi jeans have, and it took him a while because of his handcuffs, and fished out a key from

     there” which he handed to the agent. Id. at 83-84. Chavez then asked if the agents could search

     the suite and Abu Zuhrieh “responded that [they] could search.” Id. at 84. Upon entering Suite

     H, the officers found “well over 100 pounds” of spice in “garbage bags and boxes.” Id. at 85.

            “[W]ithin a matter of weeks” after the search of his store and Suite H, Abu Zuhrieh

     voluntarily appeared at the Albuquerque DEA office and requested an audience with McKinley,

     asking if they were “going to do this or what?” Id. at 37. McKinley appropriately declined

     Defendant’s offer of cooperation, explaining that any such discussion would have to proceed

     through Abu Zuhrieh’s attorney. Id. For the purposes of this motion, however, the relevant

     information gleaned from this episode is that when Defendant sought, on his own initiative, to

     enter into sensitive and legally significant negotiations with the government, he felt sufficiently

     confident in his capacity to comprehend English to venture to the DEA office alone, without an

     interpreter or even his attorney.


                                               DISCUSSION

I.      Waiver of Miranda Rights

            “Under Miranda, law enforcement officers must advise a suspect who is subjected to

     custodial interrogation that he has the right to remain silent, that statements can be used against

     him, that he has the right to counsel, and that he has the right to have counsel appointed.” United

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States v. McCluskey, 893 F. Supp. 2d 1117, 1138 (D.N.M. 2012). See also Missouri v. Seibert,

542 U.S. 600, 608 (2004) (“failure to give the prescribed warnings and obtain a waiver of rights

before custodial questioning generally requires exclusion of any statements obtained.”). Any

“waiver of one’s Fifth Amendment privilege against self-incrimination must be made

voluntarily, knowingly and intelligently.” United States v. Burson, 531 F.3d 1254, 1256 (10th

Cir. 2008) (internal quotation marks omitted). “Whether this standard is met depends in each

case upon the particular facts and circumstances surrounding that case, including the

background, experience, and conduct of the accused.” Id. The government bears the burden of

proving an effective waiver by a preponderance of the evidence. See United States v. Morris,

287 F.3d 985, 988 (10th Cir. 2002).

        However, an “express statement of waiver is not required; the waiver can be inferred

from the defendant’s actions and words.” United States v. Christy, 785 F. Supp. 2d 1004, 1027

(D.N.M. 2011). Even so, for a waiver to be valid, the Court must satisfy itself that it was made

“with a full awareness of both the nature of the right being abandoned and the consequences of

the decision to abandon it.” Burson, 531 F.3d at 1257. The Tenth Circuit has emphasized two

features of this analysis:

        First, the relinquishment of the right must have been voluntary in the sense that it was the
        product of a free and deliberate choice rather than intimidation, coercion, or deception.
        Second, the waiver must have been made with a full awareness of both the nature of the
        right being abandoned and the consequences of the decision to abandon it. Only if the
        totality of the circumstances surrounding the interrogation reveal both an uncoerced
        choice and the requisite level of comprehension may a court properly conclude that the
        Miranda rights have been waived.

Morris, 287 F.3d at 988. While Miranda warning must be rendered in a language that the

suspect understands, “imperfect” translations are sufficient, so long as he is apprised of the


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“substance or essence of his Miranda rights.” United States v. Bustillos-Muñoz, 235 F.3d 505,

516-17 (10th Cir. 2000). Based on this analysis, the Court is compelled to find that Abu Zuhrieh

effectively waived his Miranda rights and that, therefore, his statements will cannot be

suppressed as violative of his Fifth Amendment rights.


       a. Defendant’s waiver was not coerced.

       There is no evidence in this case of “intimidation, coercion, or deception.” It appears that

the DEA agents acted politely, did not use abusive language or threaten Defendant in any way.

While Abu Zuhrieh argues that he was frightened by the search of his store and discussions of

Islamic extremism, the Court is not persuaded that Defendant consented as a result of

intimidation. Abu Zuhrieh conceded that McKinely spoke to him “very diplomatically, and he

saw that I was nervous and he offered me a cigarette.” Doc. 58 at 114. Further, the Court finds

that at this point McKinley mentioned the Middle East only in passing and solely by way of

establishing a rapport with Abu Zuhrieh, who had lived in Jerusalem; any earnest discussion of

Islamic extremism did not occur until Defendant met with an agent from the Federal Bureau of

Investigation at the Albuquerque DEA office. Similarly, at the time of his waiver, the sole

government agents present were Chavez and McKinley, neither of whom visibly bore weapons;

Abu Zuhrieh had been escorted outside, beyond the view of any obviously armed agents “[a]fter

the scene was kind of settled down,” which works to dissipate some of the pressure inherent in a

police raid. Id. at 22. That is, other than the initial shock associated of arrest and some possible

concern induced by mentioning the Middle East, Abu Zuhrieh was not subject to any threat or

coercion that would influence his decision to waive his Miranda rights. See, e.g., United States

v. Varela, 576 F. App’x 771, 779 (10th Cir. 2014) (noting that agents “did not raise their voices,

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make any threats, or act in any way that was intimidating” and that they, like McKinley, “were

polite and friendly”); United States v. McCluskey, 893 F. Supp. 2d 1117, 1135 (D.N.M. 2012)

(relying on the fact that the officers “dressed in plain clothes, did not display their weapons,

spoke respectfully to McCluskey, and did not use force or threaten to use force against him.”).

Under these circumstances, the Court holds that any Miranda waiver was voluntary, rather than

extracted by threat or intimidation.


       b. Defendant’s waiver was knowing and intelligent.

       Defendant knowingly waived his privilege against self-incrimination. Defendant argues

that because of his limited comprehension of English and his unfamiliarity with the Anglo-

American legal tradition he was unable appreciate the consequences of the decision he was asked

to make. The Court disagrees. Stated succinctly, the Court does not believe that Abu Zuhrieh

did not understand or appreciate the Miranda warnings as rendered by McKinley. First, Abu

Zuhrieh has lived and conducted business in the United States for more than a decade. The

Court appreciates that Defendant may not have attained complete fluency, but given that he

managed to operate a business with a predominately English-speaking clientele and manage his

financial affairs, the Court finds incredible the suggestion that he did not comprehend the plain,

language of Miranda. See United States v. Garcia-Escalera, 998 F. Supp. 2d 1191, 1203 (N.D.

Okla. 2014) (explaining that Defendant “conducted drug transactions with [co-defendant] even

though she could not speak Spanish, and [co-defendant’s] testimony shows that defendant was

comfortable conversing in English, even though it was not his primary language”).

       Second, Defendant appropriately answered the agents’ questions, including a description

of “where he got the Bizarro and Scooby Snax that he had,” which indicates to the Court that,

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despite whatever anxiety he might have felt, he was not so bereft of his linguistic faculties as to

not understand the agents’ inquiries. Id. at 64. Indeed, throughout the entire search, he

“interact[ed] appropriately with” individuals speaking to him in English, further underscoring

that he comprehended his interaction with the law enforcement officers at the scene. Id. at 91.

See also Garcia-Escalera, 998 F. Supp. 2d at 1203 (“In addition, the evidence shows that

[defendant’s] statements to [the officer] were made in response to questions by [the officer], and

this shows that he understood the questions and made appropriate, even if misleading,

responses.”); United States v. Sanchez-Chaparro, 392 F. App’x 639, 644 (10th Cir. 2010)

(upholding a finding that defendant sufficiently understood his Miranda warnings and

considering various factors, including that defendant “generally responded appropriately to [the

officer’s] questioning during the traffic stop”).

       Third, Defendant voluntarily appeared alone at the DEA office on at least one occasion in

a misguided effort to strike a cooperation agreement directly with McKinely; this effort indicates

to the Court that, faced with a potentially life-altering conversation, Abu Zuhrieh felt sufficiently

confident in his facility with spoken English to present himself to the DEA without an attorney

or even an interpreter. If it were true that Defendant is uncomfortable with the American legal

system and spoken English, surely he would have not endeavored to initiate such complex

negotiations without the attorney that he had already been provided. Finally, during the hearing

held on this Motion, Defendant on several occasions responded in English to questions posed by

the Prosecution, circumventing his interpreter and demonstrating that he is, evidently, more

comfortable in English than Arabic. These facts readily put lie to the notion that Defendant did

not understand the irreducibly simple phrase, “you have the right to an attorney.”


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             The testimony of Defense Investigator, Eric Hansen, is not to the contrary. Even if the

      Defense team faced some difficulty in explaining “legal processes” to Abu Zuhrieh, this

      argument misses the mark. Id. at 95. There is no requirement that a suspect attain a mastery of

      constitutional law or criminal procedure prior to waiving his rights and Defendant has offered no

      legal support for this element of his argument. To the contrary, the animating purpose of the

      demand that police inform suspects of their rights prior to questioning them is to apprise

      potential defendants of the rights relevant in the circumstances; the only legal knowledge

      required is, by design, transmitted by the warnings themselves. See, e.g., Miranda v. Arizona,

      384 U.S. 436, 468 (1966) (“For those unaware of the privilege, the warning is needed simply to

      make them aware of it—the threshold requirement for an intelligent decision as to its exercise.”).


II.      Consent to Search Suite H

             It is by now black-letter law that “[c]onsent is an exception to the Fourth Amendment’s

      warrant requirement for a search.” United States v. Romero, 749 F.3d 900, 905 (10th Cir. 2014).

      See also Schneckloth v. Bustamonte, 412 U.S. 218, 222 (1973) (“a search authorized by consent

      is wholly valid.”). Thus, “[w]hen an individual consents to a police search, and the consent is

      ‘freely and voluntarily given,’ the search does not implicate the Fourth Amendment.” Reid v.

      Paulter, 36 F. Supp. 3d 1067, 1161 (D.N.M. 2014) (Browning, J.). The Tenth Circuit has

      explained that “voluntariness” is determined “under the totality of the circumstances” and that

      courts should employ “a two-part test to guide [their] inquiry.” United States v. Sanchez, 608

      F.3d 685, 690 (10th Cir. 2010). This test requires that the prosecution: “(1) proffer clear and

      positive testimony that consent was unequivocal and specific and freely and intelligently given,

      and (2) the officers must have used no implied or express duress or coercion.” Id. (internal

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quotation marks omitted). Factors that courts in this circuit have endorsed as relevant to the

“totality of the circumstances” analysis include:

       (i) the threatening presence of several officers; (ii) the use of aggressive language or tone
       of voice indicating that compliance with an officer’s request is compulsory, or,
       conversely, the officer’s pleasant manner and [ ] tone of voice; (iii) the prolonged
       retention of a person’s personal effects such as identification, or, conversely, the prompt
       return of the defendant’s identification and papers; (iv) the absence of other members of
       the public, or, conversely, whether the stop occurs in a public location such as the
       shoulder of an interstate highway, in public view; (v) the officer’s failure to advise the
       defendant that [he or] she is free to leave.

United States v. Sedillo, No. CR 08–1419 JB, 2010 WL 965743, at *12 (D.N.M. Feb. 19, 2010)

(Browning, J) (some alterations in original). Additionally, an individual’s difficulty

understanding the request for consent should be considered. See, e.g., United States v.

Hernandez, 893 F. Supp. 952, 961 (D. Kan. 1995) (“Language barriers are relevant in evaluating

the suspect’s ability to act knowingly, intelligently, and voluntarily.”). Of course, no one factor

is dispositive and the Court must assess the situation that confronted the Defendant at the time he

rendered his consent. Moreover, while consent must be unequivocal and specific, it need not be

verbal and “may instead be granted through gestures or other indications of acquiescence, so

long as they are sufficiently comprehensible to a reasonable officer.” United States v. Guerrero,

472 F.3d 784, 789-90 (10th Cir. 2007).

       Here, the government has adequately demonstrated that Abu Zuhrieh freely consented to

the search of Suite H. First, the Court credits Chavez’s testimony that Abu Zuhrieh

unequivocally consented to a search of the suite after volunteering the key corresponding to that

unit. See Doc. 58 at 84. Second, although there are genuine constitutional issues posed by

rendering requests in a language that the interlocutor cannot appropriately comprehend, as the

Court discussed above, Defendant is sufficiently capable in English to comprehend the meaning

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of direct, unambiguous phrases such as “Do you mind if we take a look in there for anything that

would be illegal?” Id. at 84.

       Moreover, there is no genuine suggestion of coercion in the instant case. While it does

not appear that the DEA agents explained to Abu Zuhrieh that he was free to refuse to the search,

he had already been issued his Miranda warnings, which works to allay this concern, as he had

already been apprised of his right to consult with an attorney. Further, at the time Defendant

agreed to the search, it appears that there were, at most, a few officers present, none of whom

used aggressive or abusive language. Indeed, Defendant has not suggested that the agents

threatened him, detained him longer than necessary, or otherwise applied pressure in an effort to

secure his consent. Nothing in this summary of events gives the Court pause; the consent was

obtained in a constitutionally acceptable manner.



                                         CONCLUSION

       Neither the custodial interrogation nor the search of Suite H suffers from any

constitutional infirmity. Therefore, neither Abu Zuhrieh’s statements to government agents, nor

the fruits of the search of Suite H will be suppressed.

       IT IS THEREFORE ORDERED that Defendant’s Motion for Suppression of Statement

and Evidence [Doc. 23] is DENIED.

       Dated this 21st day of July, 2015.



                                                          MARTHA VÁZQUEZ
                                                          UNITED STATES DISTRICT JUDGE



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